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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                CASE NO.: 1:21-cv-20929-JEM


    LINET D. FERRER, for herself,
    and on behalf of others similarly situated,

            Plaintiff (s),
    v.

    T K PROMOTIONS, INC.
    d/b/a BT’S GENTLEMEN'S CLUB,
    GREGG BERGER, individually,

          Defendants,
    ____________________________/

                                   STATEMENT OF CLAIM

          Plaintiff LINET D. FERRER by and through its undersigned counsel, hereby submits

    pursuant to the Honorable Judge Jose E. Martinez’ Order, dated April 13, 2021 [D.E. 6],

    Plaintiff’s Statement of Claim. As grounds, the Plaintiff states:

         1. Plaintiff endeavored at this stage of litigation to formulate its Statement of Claim

            on the basis of the best data available. Defendant and/or persons who are non-

            parties or who are no longer employees of Defendant may have relevant

            information or documents, but Plaintiff is not purporting to provide in this

            Statement of Claim, confirmed information, if any, presently possessed by such

            persons.

         2. On March 9, 2021, Plaintiff LINET D. FERRER, through its undersigned counsel

            filed her Fair Labor Standards Act cause of action against her former employers, T

            K Promotions, Inc., d/b/a/ BT’S Gentlemen's Club, and Gregg Berger.

         3. Total Amount of Alleged Unpaid Wages: Discovery in this cause of action is
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          ongoing. As such, subject to such additional or different information that discovery

          or further investigation may disclose, Plaintiff at this time alleges that a pre-

          discovery estimate that is due and owing to Plaintiff is as follows:

          A. OVERTIME $1,807.48

          * Please note that these amounts are based on a preliminary calculation and that
          these figures could be subject to modifications as discovery could dictate.
          Florida's minimum wage is higher than the federal minimum wage rate. As per
       FLSA regulations, the higher minimum wage applies.

            a. Total amount of alleged unpaid wages:

               One Thousand Eight Hundred Seven Dollars and 48/100 ($1,807.48)

            b. Calculation of such wages:

                  Total time of employment: 4 years
                  Total relevant weeks of employment: 21 weeks

                1.- Overtime 2018, 21 weeks

                  Total relevant weeks: 21 week
                  Florida minimum wage 2018: $8.25 x 1.5= $12.38
                  O/T rate: $12.38

                 i.   Overtime for 10 weeks of 5 days of work

                  Total relevant weeks: 10 weeks
                  Total hours worked: 42.5 hours weekly
                  Total unpaid O/T hours: 2.5 hours weekly
                  O/T rate: $12.38

                  O/T rate $12.38 x 2.5 O/T hours = $30.95 weekly x 10 weeks=$ 309.50

                ii.   Overtime for 11 weeks of 6 days of work

                  Total relevant weeks: 11 weeks
                  Total hours worked: 51 hours weekly
                  Total unpaid O/T hours: 11 hours weekly
                  O/T rate: $12.38

                  O/T rate $12.38 x 11 O/T hours = $136.18 weekly x 11 weeks= $1,497.98



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                 Total i and ii: $1,807.48

           c. Nature of wages:

               This amount represents unpaid overtime based on Florida minimum wage rate

          B. MINIMUM WAGES: $34,096.53

          *Calculations have been made according to Florida Minimum Wage statute of

          limitations.

             a. Total amount of alleged unpaid wages:

                 Thirty-Four Thousand Ninety-Six Dollars and 53/100 ($34,096.53)

             b. Calculation of such wages:

                 Total time of employment: 4 years
                 Total relevant weeks of employment: 93 weeks

                 1.- Florida Minimum wages 2016 @ $8.05 an hour= 42 weeks

                 i. Minimum wages for 21 weeks of 5 days of work
                  Total relevant weeks: 21 weeks
                  Total hours worked: 42.5 hours weekly
                  Total unpaid hours: 42.5 hours weekly
                  FL minimum wage rate: $8.05 an hour

                 Min. wage rate $8.05 x 42.5 hours=$342.13 weekly x 21 weeks=$7,184.73

                ii. Minimum wages for 21 weeks of 6 days of work
                  Total relevant weeks: 21 weeks
                  Total hours worked: 51 hours weekly
                  Total unpaid hours: 51 hours weekly
                  FL minimum wage rate: $8.05 an hour

                 Min. wage rate $8.05 x 51 hours=$410.55 weekly x 21 weeks=$8,621.55


                 2.- Florida Minimum wages 2017 @ $8.10 an hour= 30 weeks

                 i. Minimum wages for 15 weeks of 5 days of work
                  Total relevant weeks: 15 weeks
                  Total hours worked: 42.5 hours weekly
                  Total unpaid hours: 42.5 hours weekly

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                    FL minimum wage rate: $8.10 an hour

                    Min. wage rate $8.10 x 42.5 hours=$344.25 weekly x 15 weeks=$5,163.75

                  ii. Minimum wages for 15 weeks of 6 days of work
                    Total relevant weeks: 15 weeks
                    Total hours worked: 51 hours weekly
                    Total unpaid hours: 51 hours weekly
                    FL minimum wage rate: $8.10 an hour

                    Min. wage rate $8.10 x 51 hours=$413.10 weekly x 15 weeks=$6,196.50

                   3.- Florida Minimum wages 2018 @ $8.25 an hour= 21 weeks

                    Min. wage rate $8.25 x 40 hours=$330.00 weekly x 21 weeks=$6,930.00


                   Total unpaid Florida minimum wages #1, #2, and #3: $34,096.53

                c. Nature of wages:

            This amount represents unpaid Florida Minimum Wages.

            C. Attorney’s Fees and Costs: To be determined.

         4. Plaintiff LINET D. FERRER is One Thousand Eight Hundred Seven Dollars and

            48/100 ($1,807.48) in overtime wages; plus, Thirty-Four Thousand Ninety-Six

            Dollars and 53/100 ($34,096.53) in minimum wages; plus a reasonable amount in

            Attorney’s Fees and Costs.

         5. Therefore, Plaintiff is owed a total amount of $71,808.02 ($35,904.01 unliquidated

            + $35,904.01 liquidated) plus a reasonable amount in Attorney’s Fees and Costs.

WHEREFORE, based on the foregoing, the Plaintiff LINET D. FERRER, files her Statement of

Claim.

Dated: April 30, 2021

                                                 Respectfully submitted,

                                                 ZANDRO E. PALMA, P.A.

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                                CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on April 30, 2021, I electronically filed the foregoing
    document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
    document is being served this day on all counsel of record or pro se parties identified on
    the attached Service List in the manner specified, either via transmission of Notices of
    Electronic Filing generated by CM/ECF or in some authorized manner for those counsel
    or parties who are not authorized to receive electronically Notices of Electronic Filing.


                                                 BY: _s/Zandro E. Palma___
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